          Case 1:17-cr-00020-JPJ Document 527 Filed 03/20/18 Page 1 of 7CLER/S osnc:
                                                                          Pageid#: 5314
                                                                                     tJ,, njs.
                                                                                             roozq
   Ao2458     tRev.2/18-vAw Additi
                                 o.05/17)Judgmentinacrimi
                                                        nalcase
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                                                                                                                                                 y
              sheetl
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                                             TED STA TES DISTRICT C0                                    T          aZJuLl
                                                                                                                        Ac.u     .    ,   cvz.
                                                 W estern D istrictofV irginia                                              DE              c
         UNITED STATES OFAMERICA                                       JUD GM EN T IN A CR IM INAL CASE
                            V.                                         CaseN um ber: DVAW I17CR000020-005
                   AM BER BILYEU                                       CaseN umber:
                a/k/a AmberRoseBilyeu
                                                                       U SM Num ber: 21889-084
                                                                       M ichaclBragg
                                                                       Defendant'sAttorney
THE DEFENDANT'
             .
X pleadedguiltytocountts) One(1)oftheIndictment
EEIpleadednolocontenderetocountts)
   whichw asaccepted by the court.
Z wasfoundguiltyoncountts)
   afterapleaofnotguilty,

Thedefendantisadjudicatedguiltyoftheseoffenses:
  Title & Section              Nature ofO ffense                                                       O ffense Ended
                                                                                                                    .   -            Count
21U SC Sections846 Conspiracy to Possesswith Intentto Distribute and Distribute 500                         6/20/17                    1
and841(b)(1)(A)        gramsorMoreofMethamphetamine




       Thedefendantissentencedasprovidedinpages2through                       7       ofthisjudgment.Thesentenceisimposedpursuantto
theSentencing Reform Actof 1984.
Z Thedefendanthasbeenfoundnotguiltyoncountts)
Z Countts)                                  Z is Z aredismissedonthemotionoftheUnitedStates.
     ililtisorderedthatthedefendqntmustnotifytheUnitedStatesattomeyforthisdijtràctwithin30daysofpnychangeofname,residelzce
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                                                                                                                   pald.Iforderedtopayiestitutlon,
                                                                       M arch 20,2018
                                                                       DateoflmpositionofJudgment


                                                                       Signature Judge



                                                                       JamesP.Jones,United StatesDistrictJudge
                                                                       NameandTitleofJudge

                                                                                  3          l
                                                                       Date
              Case 1:17-cr-00020-JPJ Document 527 Filed 03/20/18 Page 2 of 7 Pageid#: 5315
AO 2458       (Rev.2/18-VAW Additions05/17)JudgmentinCri
                                                       minalCase
              Sheet2-lmnrisonment
                                                                                                Judgment-Page   2   of   7
D EFEN D AN T:           AM BER BILYEU
CA SE N UM BER :DVAW I17CR000020-005


                                                            IM PRISONM ENT

        Thedefendantishereby comm ittedtothecustody oftheFederalBureau ofPrisonstobeimprisonedforatotalterm of:

    Two HundredSixtprf'
                      wo(262)months.Defcndanttobcgivencreditfortimeselved,beginningJanuary23,2017,in SturyCounty,
    N C,forcasenumbers 17CR050l55 and 17CR050337,which are related to the instanceoffense.



    XX ThecourtmakesthefollowingrecommendationstotheBureauofPrisons:
    ThatthedefendantreceiveapgropriatementalhealthtreatmentandparticipateintheRESOL'
                                                                                   VEprogram whileimprisoned.
    Thatthedefendantreceiveresldentialsubstanceabusetreatment(RDAP)pursuanttotheprovisionsof18U.S.C.j3621(b).
    Thatthe defendantbe designated to theAlderson,W V facility,in orderto facilitatevisitsby family members.


    E%l ThedefendantisremandedtothecustodyoftheUnitedStatesMarshal.
    I'
     -I ThedefendantshallsurrendertotheUnitedStatesM arshalforthisdistrict:
        r7 at                             IZI av m, !-1 p.m .           on

        F-1 asnotifiedby theUnited StatesM arshal.

    Z ThedefendantshallsurrenderforserviceofsentenceattheinstitutiondesignatedbytheBureauofPrisons:
          N     before           on
          1
          - I asnotifiedby theUnited StatesM arshal.
          N     asnotifiedby theProbation orPretrialServicesOffice.


                                                                   RETURN
lhaveexecutedthisjudgmentasfollows:




          Defendantdelivered on                                                   to

a                                                   ,withacertifiedcopyofthisjudgment.


                                                                                            UNITED STATESMARSHAL

                                                                      By                    -

                                                                                         DEPUTY UNITED STATESMARSHAL
         Case 1:17-cr-00020-JPJ Document 527 Filed 03/20/18 Page 3 of 7 Pageid#: 5316


AO2458 (Rev.2/18-VAW Additions05/17)JudgmentinaCriminalCase
         Sheet3- SupervisedRelease
                                                                                              Judgment-page    3    of       7
DEFENDANT:            AM BER BILYEU
CASE NUM BER:DVAW I17CR000020-005
                                                SUPE RV ISED R ELE A SE
Uponreleasefrom imprisonm entyouwillbeonsupervisedreleaseforaterm of:
Five(5)years.




                                             M ANDA TO RY CONDITIONS
     Youm ustnotcom mitanotherfederal,stateorlocalcrim e.
     ELIYoumustmakerestitutioninaccordancewithsections3663and3663A,oranyotherstatuteauthorizingasentenceof
         restitution.(checkfapplicable)
     You mustnotunlawfully possessa controlled substance.                                     '
     Youmustrefrainfrom anyunlawfuluseofacontrolledsubstance.Youmustsubm ittoonedrugtestw ithin 15daysofreleasefrom
     im prisonm entandatleasttwoperiodicdnlgteststhereafter,asdetenninedbythecourt.
            Z Theabovedrugtestingconditionissuspended,basedonthecourt'sdeterminationthatyou
                posealow riskoffuturesubstanceabuse.(checkçapplicable)
     X YoumustcooperateinthecollectionofDNA asdirectedbytheprobationofficer.(checkçapplicable)
     EqlYoumustcomplywiththerequirementsoftheSexOffenderRegistrationandNotificationAct(34U.S.C.j20901,etseq.)as
        directed by theprobation officer,theBureau ofPrisons,orany state sex offenderregistration agency in which you reside,work,
        areastudent,orwereconvictedofaqualifying offense.(ckeckIapplicable)
     Z Youmustparticipateinanapprovedprogram fordomesticviolence.(checkçapplicable)
Y ou mustcomply with the standard conditionsthathave been adopted by thiscoul'
                                                                             tasw ellaswith any otherconditionson theattached
PM e.
          Case 1:17-cr-00020-JPJ Document 527 Filed 03/20/18 Page 4 of 7 Pageid#: 5317


AO 2458     (Rev.2/18-VAW Additions05/17)Judgl
                                             nentinaCriminalCase
            Sheet3A - Stlpew isedRclease
                                                                                                     Judgment-page     4     of       7
 DEFEN DA NT :          AM BER BILY EU
 CASE N UM BER:DVAW I17CR000020-005
                                     STANDARD CON DITION S OF SUPERVISION

Aspal' tofyoursupel  w ised release,you m tlstcom ply w ith the following standard conditionsofsupel-vision. These conditionsare imposed
becausetheyestablishthebasicexpectationsforyourbehaviorwhileonsupervisionandidentifytheminim um toolsneeded byprobation
officersto keep inform ed,reportto the cotu' tabout,and bring aboutinzprovem ents in yourconductand condition.
     Yotlmustrepol'
                  ttotheprobationofticeinthefederaljudicialdistrictwhereyouareatlthorizedtoresidewithin 72hoursofyour
     release from im prisonm ent,unlesstlzeprobation ofticerinstructsyou to repol  -tto adifferentprobation office orwithin a differenttim e
     ffam e.
     A fterinitially reporting to theprobation office,you willreceive instructionsfi'om thecourtortheprobation officerabouthow and
     whenyoum ustreportto theprobationofficer,andyoumustreporttotheprobationofficerasinstructed.
     Youmustnotknowinglyleavethefederaljudicialdistrictwhereyouareauthorizedtoresidewithouttirstgettingpennissionfrom the
     coul4 ortheprobation ofticer.
     Y ou mustanswertruthfull y thequestionsaskedbyyourprobationofficer.
     Youmustliveataplaceapproved bytheprobationofficer.Ifyouplanto changewhereyouliveoranythingaboutyotlrliving
     arrangements(suchasthepeopleyou livewith),youmustnotlfytheprobationofficeratIeastl0daysbeforethechange.lfnotifying
   theprobationofficerinadvanceisnotpossibleduetounanticipatedcircumstances,youm ustnotifytheprobationofficerw ithin72
   hoursofbecoming aware ofa changeorexpected change.
6. You mustallow the probation officerto visityouatany tilne atyourhom e orelsewhere,and you m ustperm ittheprobation officerto
   takeanyitemsprohibited bytheconditionsofyoursupervisionthatheorsheobservesinplainview .
     Youmtlstworkfulltime(atleast30 hotlrsperweek)atalawfultypeofemployment,unlesstheprobationofficerexcusesyoufrom
     doing so.Ifyoudonothaveftlll-timeemploymentyoumusttrytofindfull-timeemployment,unlesstheyrobationofficerexcuses
     youfrom dolngso.Ifyouplantochangewhereyouworkoranythingaboutyourwork(suchasyourpositlonoryourjob
     responsibilities),youlnustnotifytheprobation officeratIeast10daysbeforethechange.lfnotifyingtheprobation ofticeratleast10
   days in advance isnotpossible due to unanticipated circum stances,you m ustnotify the probation ofGcerwithin 72 hoursof
   becom ing aware ofachange orexpected change.
8. Youm ustnotcomm unicateorinteractwith som eoneyouknow isengagedin criminalactivity.lfyouknow som eonehasbeen
   convicted ofafelony,you mustnotknowingly com municate orinteractw ith thatperson withoutfirstget     ling the perm ission ofthe
   probation officer.
9. lfyouarearrestedorquestioned by alaw enforcelnentofficer,yop mtlstnotifytheprobationofficerwithin 72hpurs.
10. Youmustnotown,possess,orhaveaccesstoafirearm,ammunitlon,destructlvedevice,ordangerousweapon(l.e..anythingthatwas
    designed,orwasmodifiedfor,thespecificgurposeofcausingbodilyinjuryordeathtoanotherpersonsuchasnunchaktlsortasers).
l1. You111t1stnotactorm akeany agreementw lthalaw enforcementagency to actasacontidentialhum ansourceorinformantw ithout
    firstgetting the penmission ofthe court.
12. lftheprobationofficerdeterminesthatyouposeariskto anotherperson(includinganorganization),theprobationofficermay
    require yotlto notify the person abouttherisk and you m ustcom ply w ith thatinstruction. Theprobation officermay contactthe
    person and confirm thatyou have notified theperson abouttherisk.
l3. You m ustfollow theinstructionsofthe probation officerrelated to the conditionsofsupervision.



U.S.Probation OfficeU seO nly
A U .S.probationofficerhasinstructedmeontheconditionsspeclfiedbythecourtandhasprovidedn4ewithawrittencopy ofthis
judgmentcontainingtheseconditions.Forfurtherinformationregardingtlleseconditions,seeOverview ofprobationandsupcrvised
ReleaseConditions,availablet
                           '
                           ?/.
                             'j'
                               î'
                                %q,
                                  %jt.ltscotll-tss
                                                 .gçljl.

Defendant'
         s Signature                                                                                 Date
           Case 1:17-cr-00020-JPJ Document 527 Filed 03/20/18 Page 5 of 7 Pageid#: 5318
 AO 2458     (Rev.2/18-VAW Addi
                              tions05/17)JudgmentinaCrimi
                                                        nalCase
             Sheet317-SupervisedRelease
                                                                                       Judgm ent-page   5   or     7
 DEFEN DA NT :            AM BER BILYEU
 CA SE N UM BER: DVAW I17CR000020.005

                                      SPECIAL CO NDITIONS OF SUPERW SIO N
W hile on supervised release,the defendant:

(1)Mustpayanymonetarypenaltythatisimposedbythisjudgmentinthemannerdirectedbythecourt;
(2)Mustresideinaresidencefreeoffirearms,ammtlnition,destructivcdevices,and dangerousweapons;
(3)Mustsubmittowarrantlesssearchandseizureofpersonandprojertybytheprobationofficerorotherlaw enforcementofficer,whenever
such officerhasreasonable suspicion thatthe defendantisengaged ln criminalactivity;

(4)Mustparticipateinaprogram oftestingandtreatmentforsubstanceabuse,asapprovedbythcprobationofficer,untilsuchtimeasthe
defendanthassatisfied allrequirem ents ofthe program '
                                                     ,and

(5)Mustparticipateinaprogram ofmentalhealthtreatrpentasapprovcdbytheprobationofficer,untilsuchtimeasthedefendanthas
satisfied all requirem entsofthe program .
          Case 1:17-cr-00020-JPJ Document 527 Filed 03/20/18 Page 6 of 7 Pageid#: 5319
AO 2458   (Rev.2/l8-VAW Addi
                           tions05/17)JudgmentinaCriminalCase
          Sheet5-CriminalM onetaryPenalties
                                                                                             Judgment-page    6       of        7
D EFEN DANT:          AM BER BILY EU
CASE NUM BER;DVAW I17CR000020-005
                                          CRTM INAL M O NETARY PENALTIES
    Thedefendantmustpay the totalcrim inalm onetary penaltiesunderthe schedule ofpaymentson Sheet6.

                    Assessm ent                    JVTA Assessm entW            Fine                              Restitution
TOTALS           $ 100.00                      $                            $                                $


I
--I Thedeterminationofrestitutionisdeferreduntil                .AnA.lnendedludglncntinaCriminalCase(AO 245C)willbeentered
    afterstlch deterl
                    nination.

U-I Thedefendantmustmakerestitution(including communityrestitution)tothefollowing payeesintheamountlistedbelow.
    Ifthe defendantm akesa partialpayment,each payee shallreceivean approxim ately proportioned payment,unlessspecified otherwise
    in the priority orderorpercentage paymentcolumn below'. However,pursuantto12U.    S.C j3664(1),a1lnonfederalvictimsnzustbe
    paid before theUnited Statesispaid.
Nam e ofPa ee                                      TotalLoss*'
                                                             â                  Restitution O rdered         Priority or Percentage




TOTALS


U-1 Restitutionamotlntorderedptlrsuantto pleaagreement$
r-I Thedefendantmustpayinterestonrestitutionandafineofmorethan$2,500,unlesstherestitutionorfineispaidinfullbeforethe
    fifteenthdayafterthedateofthejudglnent,pursuantto12U.S.C.j3612(f).AlIofthepaylnentoptionsonSheet6maybesubject
    topenaltiesfordelinquencyanddefault,pursuantto 18U.S.C.j3612(g).
I
--1 Thecourtdeterminedthatthedefendantdoesnothavetheabilitytopay interestanditisorderedthat:
     I
     --I theinterestrequirementiswaivedforthe       f-l 'Iine I--I restit
                                                                        -ution.
     I
     --I theinterestrequirementforthe I '-I           I'-I restitutionismodifiedasfollows:


*JusticeforVictimsofTraffickingActof20l5,Pub.L.No.l14-22.
**Findingsforthetotalam ountofIossesare required underChapters 109A , 110,lIOA,and lI3A ofTitle 18 foroffensescomm itted
on orafterSeptem ber 13,1994,butbefore April23, 1996.
            Case 1:17-cr-00020-JPJ Document 527 Filed 03/20/18 Page 7 of 7 Pageid#: 5320
AO 2458     (Rev.2/18-VAW Additions05/17)JudgmentinaCriminalCase
            Sheet6-ScheduleofPayments
DEFENDANT:              AM BER BILYEU                                                                   Judgm cnt-Page 7 of 7
CA SE NUM BER :DVAW I17CR000020-005
                                                SCH ED U LE O F PAY M EN T S
Having assessed the defendant'
                             sability to pay,thetotalcrim inalm onetarypenaltiesaredue im mediately and payable asfollow s:

A ZX Lumpsum paymentof$100.00             immediately,balancepayable
       IZ notlaterthan                         ,or
       IZ inaccordance       EqJ C, ((((JD, I  Z E, I Z F or,I  Z G below);or
B Z Paymenttobeginimmediately(maybecombinedwith I   Z C, Z D, Z F,or I         Z G below);or
cIZ Paymentinequal                      (e.g.,weekly,monthly,quarterly)installmentsof$                               overaperiodof
                      , (e.
                          g.,monthsoryears),tocommence                      (e.g.,30or60days)afterthedateofthisjudgment;or
          Paymentinequal                        (e.g.,weekly,monthly,quarterly)installmentsof$                 overaperiodof
                       (e.g.,monthsoryears),tocommence                      (e.g.,30or60days)afterreleasefrom imprisonmenttoa
          tenn ofsupervision;or
          Paymentduringtheterm ofsupervisedreleasewillcommencewithin                        (e.g.,30or60days)afterreleasefrom
          im prisonment.The courtwillsetthepaym entplan based on an assessmentofthe defendant'sabiiity to pay atthattime;or
y (Z Duringthetennofimprisonment,paymentinequal                              (e.g.,weekly,monthly,quarterly)installmentsof
          $               ,or         % ofthedefendant'sincome,whicheveris less    .tocommence                   (e.g.,30or
          60days)afterthedateofthisjudgment;AND paymentinequal                      (e.g.,weekiy,monthly,quarterly)
          installmentsof$                duringthetenuofsupervisedrelease,tocommence                     (e.g.,30or60days)
          afterreleasefrom imprisonm ent.
          Specialinstrubtionsregardingthepaym entofcrim inalmonetarypenalties;



Any installmentscheduleshallnotprecludeenforcementoftherestitutionortineorderbytheUnitedStatesunder18U.S.C jj3613 and
3664(119.
Anyinstallmentscheduleissubjecttoadjustmentbythecourtatanytimeduringtheperiodofimprisonmentorsupervision,andthedefendant
shallnotify the probation officerand the U.S.Attorney ofany changein the defendant'seconom ic circumstances thatm ay affectthe
defendant'sability to pay.
Al1criminalm onetary penalties shallbem ade payableto the Clerk,U.S.D istrictCourt,210 Franklin Rd.,Suite 540,Roanoke,Virginia 24011,
fordisbursement.
Thedefendantshallreceivecreditfora1lpaym cntspreviously m adetoward any crim inalm onetaly penaltiesim posed.
Anyobligationtopayrestittltionisjointandseveralwithotherdefendants,ifany,againstwhom anorderofrestitutionhasbeenorwillbe
entered.                        '
  I--IJointandSeveral
      DefendantandCo-DefendantNamesandCaseNumbers(includingdefendantnumber),TotalAmount,JointandSeveralAmount,and
      corresponding payee,ifappropriate.




  r'-lThedefendantshallpaythecostofprosecution.
  1-7 Thedefendantshallpaythefollowingcourtcostts):
  F-lThedefendantshallforfeitthedefendant'sinterestinthefollowingpropertytotheUnitedStates:




  Paymentsshallbeappliedinthefollowingorder:(1)assessment,(2)restitutionprincipal,(3)restitutioninterest,(4)fineprincipal,
  (5)fineinterest,(6)communityrestitution,(7)penalties,and(8)costs,includingcostofprosecutionandcourtcosts.
